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   UNITED STATES DISTRICT COURT
   FOR THE EASTERN DISTRICT OF NEW YORK
   -------------------------------------------------------------------- X
   CHAIM DOV PRZEWOZMAN, HADASSAH
   PRZEWOZMAN, individually, as the personal
   representative of the Estate of Pinches Menachem
   Przewozman, and as parent and natural guardian of Y.P.,                  Case No. 20-6088-NGG-RLM
   a minor, and P.P., a minor, CHAYA RACHEL
   PRZEWOZMAN, individually, and as parent and natural
   guardian of A.M.P., a minor, and F.P., a minor,
   SARA PRZEWOZMAN-ROZENBAUM, YAFA
   PRZEWOZMAN, and TZVI YOSEF PRZEWOZMAN,
                                     Plaintiffs,
                              -against-
   QATAR CHARITY, QATAR NATIONAL BANK and
   MASRAF AL RAYAN,
                                      Defendants.
   -------------------------------------------------------------------- X

      REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTERS ROGATORY)

          The United States District Court for the Eastern District of New York, presents its

  compliments to the Appropriate Judicial Authority of the State of Qatar, and requests

  international judicial assistance to effect service of process to be used in a civil proceeding

  before this Court in the above captioned matter.


          This Court requests the assistance described herein as necessary in the interests of justice.

  The assistance requested is that the Appropriate Judicial Authority of the State of Qatar effect

  service of process upon the below named defendant, which is an entity incorporated under Qatari

  law:


  Masraf Al Rayan
  Grand Hamad Street, Street # 119
  Building # 78, Room 5
  Doha,
  Qatar
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         The documents to be served are as follows: (1) a certified copy of the Summons in a Civil

  Case issued by the Clerk of the United States District Court for the Eastern District of New York

  on December 15, 2020, and an Arabic language translation of same; and (2) a certified copy of

  the Complaint filed in the United States District Court for the Eastern District of New York on

  December 15, 2020, and an Arabic language translation of same.


         This Request for Judicial Assistance is brought by the Plaintiffs, who are United States

  citizens who seek monetary damages from Defendant Masraf Al Rayan pursuant to the following

  United States laws: 18 United States Code Sections 2333(a) and (d), 2339A and 2339B, and

  Section 2b of the Justice Against Sponsors of Terrorism Act. The Plaintiffs allege that

  Defendant conspired with others to provided material support to organizations designated by the

  United States Government as Foreign Terrorist Organizations, which organizations killed and

  injured Plaintiffs and their family members in terrorist attacks.


         This Court states that it shall provide similar assistance to the Appropriate Judicial

  Authority of the State of Qatar.


         This Court states that it shall compel Plaintiffs to reimburse the State of Qatar for the

     expenses it incurs in the execution of this International Judicial Assistance (Letters Rogatory).


  Dated: January 5, 2021


                                                        /s/ Nicholas G. Garaufis, U.S.D.J.
                                                        Nicholas G. Garaufis
                                                        Judge, United States District Court
                                                        Eastern District Of New York




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